                   CASE NO. 23-50224

                  IN THE
      UNITED STATES COURT OF APPEALS
          FOR THE FIFTH CIRCUIT
Leila Green Little; Jeanne Puryear; Kathy Kennedy; Rebecca Jones;
Richard Day; Cynthia Waring; Diane Moster,
                            Plaintiffs—Appellees
v.
Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano
County Commissioner; Peter Jones, in his official capacity as Llano
County Commissioner; Mike Sandoval, in his official capacity as
Llano County Commissioner; Linda Raschke, in her official capacity
as Llano County Commissioner; Amber Milum, in her official
capacity as Llano County Library System Director; Bonnie Wallace,
in her official capacity as Llano County Library Board Member;
Rochelle Wells, in her official capacity as Llano County Library
Board Member; Rhoda Schneider, in her official capacity as Llano
County Library Board Member; Gay Baskin, in her official capacity
as Llano County Library Board Member,
                          Defendants—Appellants

                 ON APPEAL FROM
    THE UNITED STATES DISTRICT COURT FOR THE
           WESTERN DISTRICT OF TEXAS
                USDC NO. 1:22-CV-424
 BRIEF OF AMICUS CURIAE BRIAN MEADORS
  IN SUPPORT OF PLAINTIFFS-APPELLEES
                                        SUBMITTED BY:
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1 Article can be found at <https://public.websites.umich.edu/~mrev/issues/Vol_8_No_7.pdf>
(accessed Sept. 4, 2024).

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                    INTEREST OF THE AMICUS CURIAE2

         Amicus Curiae Brian Meadors would like to show the Court the

long-term effects of a reversal in the instant case, based on his decades of free

speech study and advocacy.

         Mr. Meadors’s experience and scholarship include: challenging campus

speech codes;3 author on free speech issues;4, 5 plaintiffs’ attorney in Counts v.

Cedarville School District, 295 F. Supp. 2d 996 (W.D. Ark. 2003) (overturning

school’s restriction of Harry Potter books) and Virden, et al. v. Crawford County,
et al., No. 2:23-cv-2071 (W.D. Ark.) (case is pending) (county requiring its

library to sequester books with, inter alia, discussions of non-Christian

religions, as well as books with gay or disabled characters); and speaker at
multiple library functions on free speech topics.




2 This brief is submitted by Mr. Meadors pro se and with the consent of all parties. Amicus
Curiae certifies that this brief was not authored in whole or part by counsel for any of the
parties; no party or party’s counsel contributed money for the brief; and no one other than
Amicus Curiae has contributed money for this brief.
3 B. Jendryka, C.B. Meadors, “John Doe Tells All,” Vol. 8, Num. 7, The Michigan Review at 1
(March 1990) (case in article is Doe v. Univ. of Michigan, 721 F.Supp. 852 (E.D. Mich. 1989)).
4C. B. Meadors, “Time to Reflect: When Should ‘Dangerous’ Speech Lose its First
Amendment Shield?” 36 Court Review 2, 46-54 (1999).
5   B. Meadors, Harry Potter and the Cedarville Censors (McFarland Press 2019).


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                                   ARGUMENT

      While in this case a reversal would result in the exclusion of books that

some think have little merit, in the long term a reversal would hurt

conservative causes.

      This is because the political Left is an eager and active censor. The Left

happily uses government power against conservatives. For example:

   • Missouri v. Biden, 80 F.4th 641 (5th Cir. 2023) rev’d by Murthy v. Missouri

   603 U.S. __ (2023). (Biden-Harris administration pressures social media to

   silence conservative voices).

   • National Rifle Ass’n v. Vullo, No. 22–842 (U.S. Sup. Ct. 2024) (State of New

   York punished and suppressed the NRA’s pro-2nd Amendment advocacy;

   the 2nd Circuit held this as “government speech”).

   • Flores v. Bennett, 635 F.Supp.3d 1020 (E.D. Cal. 2022) (community college

   censored a conservative student group’s anti-communist, pro-life flyers; the

   college claimed it could do so under the “government speech” doctrine).

   • Masterpiece Cakeshop v. Colorado Civil Rights Comm’n, 584 U.S. 617 (2018)

   (State of Colorado compelled pro-LGBTQ speech from a cake-maker).

   • 303 Creative LLC v. Elenis, 600 U.S. 570 (2023) (State of Colorado

   compelled pro-LGBTQ speech from a website maker).

      And this is just a handful of recently reported cases. Other examples

abound. See, e.g., <https://pen.org/conservative-commentator-bill-oreilly-hits-

the-roof-over-his-books-being-banned-in-florida/> (accessed Sept. 4, 2024);



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<https://pen.org/2023-banned-book-list/> (accessed Sept. 4, 2024) (listing

books—including Bible stories—that have been banned from libraries).

      Under the “government speech” argument, libraries in Left-leaning

locales would no doubt remove or sequester conservative material. This would

hinder curious patrons seeking ideas that challenge Left-wing orthodoxy; it

would also hurt homeschoolers who rely on public libraries to supplement

their curriculum.

                                     * * *

      For these reasons, Mr. Meadors respectfully asks this Court to bear in

mind that, were Llano County to win the case at bar, the political Left would

use the holding as an additional tool to suppress conservative ideas.


      Respectfully,



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                      CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Fifth Circuit by using the

appellate CM/ECF system. I further certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the

appellate CM/ECF system.


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                   CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because it contains 548 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f). This brief also complies with the typeface
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